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                           UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA

NORIS BABB,

       Plaintiff,                            Case No.: 8:14-cv-01732-VMC-TBM
v.

ROBERT WILKIE, Secretary,
DEPARTMENT OF VETERANS AFFAIRS

      Defendant.
_____________________________________/

                                  JOINT STATUS REPORT

       Plaintiff, Noris Babb, and Defendant, Robert Wilkie, Secretary, Department of Veterans

Affairs, by and through their undersigned counsel, hereby file this Joint Status Report pursuant to

the Court’s Order, Dkt. 96.

       1.      On June 28, 2019, the Plaintiff’s Petition for Writ of Certiorari was granted by the

Supreme Court of the United States.

       2.      The initial brief is due on September 17, 2019. Plaintiff anticipates that oral

argument will occur in January 2020.

Dated: July 24, 2019                                        Respectfully submitted,

                                                            Maria Chapa Lopez
                                                            United States Attorney
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